                                 OPINION
Appellant Charles Carpenter is appealing the decision of the Knox County Court of Common Pleas that designated him a "sexually oriented offender". Appellant also challenges the parole board's decision to deny him parole. The following facts give rise to this appeal. On November 8, 1994, the Knox County Grand Jury indicted appellant on one count of rape. The indictment alleged appellant raped his step-daughter. On March 3, 1995, appellant pled guilty as charged in the indictment. The trial court sentenced appellant to five to twenty-five years. The first five years imposed as a term of actual incarceration. On June 5, 1997, appellant filed a "Petition to Vacate and Set Aside the Degree of the Offense and Sentence, Pursuant to Section 2953.21(G) of the Ohio Revised Code." In this motion, appellant sought relief pursuant to Senate Bill 2. The trial court overruled appellant's motion on July 14, 1997. On May 8, 1998, the trial court conducted a hearing to determine whether appellant should be designated a "sexual predator". By judgment entry dated June 1, 1998, the trial court found appellant should be designated a "sexually oriented offender". Counsel for appellant timely filed a notice of appeal. However, counsel did not file a brief on appellant's behalf. Appellant filed a pro se brief on January 22, 1999. The state did not file an appellee's brief. In his pro se brief, appellant does not challenge the trial court's decision to classify him as a "sexually oriented offender". In fact, appellant fails to set forth any assignment(s) of error as required by App.R. 16(A)(3). However, upon review of appellant's brief, we find he does challenge the parole board's decision to deny him parole. This court does not have jurisdiction to address the decisions of the parole board. Therefore, we cannot grant appellant the relief requested in his appellate brief.
For the foregoing reasons, the judgment of the Court of Common Pleas, Knox County, Ohio, is hereby affirmed.
By:
Wise, P. J. Gwin, J., and Farmer, J., concur.